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                                                                                                    FILED IN
                                  STATE OF NEW MEXICO                                    SAN MIGU(:l. \/.\7, ;-::;~,-r: ".:OURT
 In the Magistrate Court
 San Miguel County                                                                              JUL         8 2015
 State ofNew Mexico                                                    CASE# I 5-12389
 Plaintiff,                                                                              By~                             Clerk

            VS.

 Name: John Paul Vigil
 Dob: 12/08/1963
 SSN: XXX-XX-XXXX
 Add: 512 Lugar De Los Caballeros, Las Vegas, New Mexico 87701
 Defendant,

                                  AFFIDAVIT FOR ARREST

        The undersigned, being duly sworn, on his oath, states that he has reason to believe that
 on or about the 261h day of June 2015, in the County of San Miguel, State of New Mexico, the
 above-named defendant did commit the crimes of: Possession of a Controlled Substance
 (felony), Possession of a,. Controlled Substance (misdemeanor - possession of a controlled
 substance NOT lis.ted in 30-31-23(E) as felony possession)

 On June 5 111 , 2015 at approximately 10:00 a.m., Deputy Sean Armijo was dispatched to 3695 Hot
 Springs Blvd. (New Mexico Behavioral Health Institute) in reference to possible larceny of
 narcotics. Upon my arrival on scene Deputy Armijo made contact with Security Supervisor, Joe
 Chavez, who advised him Frances Tweed had received an anonymous letter stating an NMBHI
 employee was stealing medication and money from patients currently being treated at NMBHI.
 Ms. Tweed is the executive nurse administrator for NMBHI. Ms. Tweed provided Deputy
 Armijo with a copy of the anonymous letter. The letter alleged that Psych Tech Supervisor, John
 Vigil, had money and prescription narcotics belonging to various patients at NMBHI, locked
 inside of his desk.

 On June 5th, 2015 Myself and Deputy Sean Armijo executed a search warrant on J. Vigil's desk
 and surrounding work area. During the course of the warrant, Ativan, a scheduled narcotic was
 located and seized, along with a substantial amount of money possibly belonging to NMBHI
 patients. Other medication belonging to NMBHI patients that are not scheduled narcotics, were
 also located during the course of the warrant. Ativan, another form of Lorazepam is listed as a
 Schedule VI in the controlled substances act.

 On June 19 1\ 2015 at approximately 11:00 a.m., I was advised by Ms. Frances Tweed that a
 secondary anonymous letter had come in with more allegations against J. Vigil. The anonymous
 letter stated J. Vigil had two other lockers in different areas ofNMBHI, and J. Vigil had
 narcotics in those lockers. Myself and Ms. Tweed proceeded to El Paso Cottage where J. Vigil's
 locker was located. Mr. Vigil's locker was blue in color and labeled with his name on it.
 I was later advised by Ms. Frances Tweed; security had cut the lock to his locker and had
 conducted a search on it. Ms. Tweed advised me that approximately eleven (9) Hydrocodone




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  pills were located in a "Centrum" vitamin bottle and two (2) more Hydrocodone were located
  inside of J. Vigil's locker. Ms. Tweed stated she had researched the pill's descriptors and found
  it to be Hydrocodone. On June 26th, 2015 myself and Investigator/Deputy Antoine Whitfield
  executed a search warrant signed by 4th Judicial District Judge Gerald Baca on J. Vigil's work
  locker. During the course of the search, eleven (11) Hydrocodone pills were located inside of a
  Centrum Multi-Vitamin container. The pills were seized for evidence purposes. Upon
  information and belief, Hydrocodone is listed as a Schedule II narcotic in controlled substances
  act.

  Upon information from NMBHI Director Troy Jones, Mr. Vigil has authority to assist in the
  distribution of medication to patients; however he does not have authority to possess the drugs
  under any circumstances.


          Affiant, Undersheriff Anthony L. Madrid is a full time salaried Undersheriff employed by
  the San Miguel County Sheriffs Office for approximately 8 months. The undersigned further
  states the following facts on oath to establish probable cause to believe that the above-named
  defendant committed the crimes charged:


  Anthony L. Madrid      ~~                                                         7/8/15
  San Miguel County Sheriffs Office                                                    Date
  Affiant




                                                            ott          ·
            Subscribed and sworn to me before this          D-       day of_--:A-"'<-0=~'--+-----' 2015.



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                                                                                 Approved~
                                                                                   District Attorney's Office




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